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8                                 UNITED STATES DISTRICT COURT
9                               CENTRAL DISTRICT OF CALIFORNIA
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11   AMERICAN RIVER NUTRITION,                              Case No. 8:18-cv-02201-FLA (JDEx)
     LLC,
12
                                     Plaintiff,             [Consolidated with Case No. 2:21-cv-
13
                                                            02613-FLA (JDEx)]
                     v.
14
                                                              ORDER (1) DENYING PLAINTIFF’S
15
     BEIJING GINGKO GROUP                                     MOTION FOR PARTIAL
16   BIOLOGICAL TECHNOLOGY CO.,                               SUMMARY JUDGMENT [DKT. 172];
     LTD, et al.,                                             (2) GRANTING SUMMARY
17
                                                              JUDGMENT IN DEFENDANTS’
                                     Defendants.
18                                                            FAVOR; AND (3) DEEMING
                                                              DEFENDANTS’ MOTION FOR
19
                                                              SUMMARY JUDGMENT OF NO
20                                                            WILLFUL INFRINGEMENT AND
                                                              NO INDUCED INFRINGEMENT
21
                                                              MOOT [DKT. 176]
22
                                                            Hearing Date:                 December 17, 2021
23
                                                            Time:                         10:30 a.m.
24                                                          Courtroom:                    6B
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1                                           RULING
2          Before the court are the parties’ cross-motions for summary judgment. On May
3    14, 2021, Plaintiff American River Nutrition, LLC (“ARN” or “Plaintiff”) filed its
4    Motion for Partial Summary Judgment against Defendants for Infringement of the
5    Patent-in-Suit (“Plaintiff’s MSJ”). Dkt. 172 (“Pl. MSJ,” redacted); Dkt. 172-1 (“Pl.
6    MSJ Br.,” redacted); Dkt. 213 (“Pl. MSJ Br.,” unredacted). Defendants Beijing
7    Gingko Group Biological Technology Co., Ltd. (“BGG China”), Jinke Group USA
8    Inc. (“BGG America”), and Jiangsu Xixin Vitamin Co., Ltd. (“JXVC”) (collectively,
9    the “Beijing Gingko Defendants”) and Defendant Kyäni, Inc. (“Kyäni”) (altogether,
10   “Defendants”) filed their opposition on June 4, 2021. Dkt. 205 (“Opp. to Pl. MSJ,”
11   redacted); Dkt. 236 (“Opp. to Pl. MSJ,” unredacted). Plaintiff filed its reply on June
12   14, 2021. Dkt. 228 (“Pl. MSJ Reply,” redacted); Dkt. 244 (“Pl. MSJ Reply,”
13   unredacted).
14         On May 14, 2021, Defendants filed their Motion for Summary Judgment of No
15   Willful Infringement and No Induced Infringement (“Defendants’ MSJ”). Dkt. 176
16   (“Defs. MSJ,” redacted); Dkt. 192 (“Defs. MSJ,” unredacted). Plaintiff filed its
17   opposition on June 4, 2021. Dkts. 202, 252 (“Opp. to Defs. MSJ,” redacted); Dkt. 250
18   (“Opp. to Defs. MSJ,” unredacted). Defendants filed their reply on June 18, 2021.
19   Dkt. 225 (“Defs. MSJ Reply,” redacted); Dkt. 238 (“Defs. MSJ Reply,” unredacted).
20         These Motions came to hearing on December 17, 2021. For the reasons stated
21   herein, the court DENIES Plaintiff’s MSJ in its entirety, GRANTS summary judgment
22   of noninfringement in Defendants’ favor, and deems Defendants’ MSJ MOOT.
23                                     BACKGROUND
24         A.       Overview of Plaintiff’s Complaints
25         This action arises in connection with Defendants’ alleged infringement of
26   United States Patent No. 6,350,453 B1 (the “Patent-in-Suit” or “’453 Patent”), entitled
27   “Tocotrienols and Geranylgeraniol from Bixa Orellana Byproducts,” which was
28   issued by the United States Patent & Trademark Office (“USPTO”) on February 26,

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1    2002. Dkt. 42-1. The USPTO’s records show the ’453 Patent was assigned by the
2    original Assignee, American River Nutrition, Inc., to Plaintiff on July 11, 2018, and
3    that ARN recorded the assignment with the USPTO on September 14, 2018.
4          Plaintiff filed the Complaint in the subject action, American River Nutrition,
5    LLC v. Beijing Gingko Group Biological Technology Co., Ltd., et al., Case No. 8:18-
6    cv-02201-FLA (JDEx) (the “Beijing Gingko action”), on December 12, 2018 and the
7    operative First Amended Complaint (“FAC”) on March 4, 2019. Dkts. 1, 42.1 In the
8    FAC, Plaintiff asserts two causes of action for: (1) infringement of the ’453 Patent
9    under 35 U.S.C. § 271(g) (“§ 271(g)”) against all Beijing Gingko Defendants; and (2)
10   infringement of the ’453 Patent under 35 U.S.C. § 271(b) (“§ 271(b)”) against
11   Defendant JXVC. Dkt. 42. (FAC) ¶¶ 30-55. The FAC alleges the Beijing Gingko
12   Defendants use, manufacture, prepare, blend, offer to sell, import from China, and sell
13   within the United States a tocotrienol composition formed by practicing Claims 1, 6,
14   7, and 10 of the ’453 Patent. Id. ¶¶ 24-27, 31-33, 35, 44-46, 48. This action was
15   transferred from District Judge Josephine L. Staton to this court on December 30,
16   2020. Dkt. 109.
17         On July 8, 2019, Plaintiff filed the Complaint in American River Nutrition, LLC
18   v. Kyäni, Inc., Case No. 2:21-cv-02613-FLA (JDEx) (formerly Case No. 4:19-cv-
19   00255-WGY in the District of Idaho) (the “Kyäni action” or “Case No. 21-2613”),
20   asserting one cause of action against Kyäni for infringement of Claim 1 of the ’453
21   Patent under § 271(g). Case No. 21-2613, Dkt. 1 (Compl.) ¶¶ 19-29. The Complaint
22   alleges “Kyäni uses, offers to sell, imports from China, and sells within the United
23   States a tocotrienol composition formed by practicing the Patented Processes claimed
24   in the Patent-in-Suit.” Id. ¶ 21. The Kyäni action was transferred to this court on
25
26   1
       The court will cite all documents by the page numbers added by the court’s CM/ECF
27   system rather than the page numbers listed within the documents themselves.
     Citations to docket entries that do not include a case number will be to the docket in
28   the Beijing Gingko action.
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1    March 25, 2021, pursuant to a stipulation by the parties. Id., Dkts. 49, 51. On April 1,
2    2021, the court consolidated the Kyäni action with the Beijing Gingko action pursuant
3    to a stipulation by the parties, and administratively closed the Kyäni action. Dkt. 68.
4          Judge Staton’s February 27, 2019 Order Setting Scheduling Conference stated
5    the court intended generally to follow the Northern District of California Patent Local
6    Rules (“Patent Local Rules”), with a modification to the presumptive schedule
7    established under those rules. Although the Kyäni action was initially governed by
8    the District of Idaho’s Local Patent Rules, those rules were adopted from the Northern
9    District of California Patent Local Rules and the two sets of rules are substantively
10   identical for purposes of the consolidated actions and subject motions. See Fleming v.
11   Escort, Inc., Case No. 1:09-cv-00105-BLW, 2011 WL 1542126, at *2 (D. Idaho Apr.
12   21, 2011).
13         Plaintiff now moves for partial summary judgment against Defendants for
14   infringement of Claims 1 and 5 of the ’453 Patent. Dkt. 172-1 (Pl. MSJ Br., redacted)
15   at 24-36; Dkt. 213 (Pl. MSJ Br., unredacted) at 24-36. Defendants, in turn, request the
16   court award summary judgment of no infringement in their favor, and separately move
17   for summary judgment on the grounds that they have not willfully infringed or
18   induced infringement of the’453 Patent. Dkt. 205 (Opp. to Pl. MSJ, redacted) at 7;
19   Dkt. 176 (Defs. MSJ, redacted) at 2; Dkt. 192 (Defs. MSJ, unredacted) at 2.
20         B.     The ’453 Patent and Claim Construction
21         The ’453 Patent is entitled “Tocotrienols and Geranylgeraniol from Bixa
22   Orellana Byproducts,” and claims in relevant part:
23           1. A method of forming a tocotrienol composition, comprising the
24           step of volatilizing a solvent from a byproduct solution of Bixa
             Orellana seed components to form thereby said tocotrienol
25           composition.
26           5. The method of claim 1, wherein the solvent includes an alcohol.
27           6. The method of claim 1, therein the byproduct solution of Bixa
28           Orellana seed components includes a geranylgeraniol component.

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1    instrumentalities that were not disclosed in Plaintiff’s Infringement Contentions to the
2    Beijing Gingko Defendants:
3            1. Infringement of Claim 6 of the Patent-in-Suit (Dkt. 124 ¶¶ 6-7, 43
4               (third bullet), 127-28, 174, 178);
5            2. Infringement based on inducement under § 271(b) (Dkt. 124 ¶¶ 7, 9-
                10, 58, 72-73, 84-86, 175-81); and
6
             3. Infringement based on four documents produced in discovery:
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                a. the “September 20, 2013 Form 1294” flowchart, BGG0018635
8                  (Dkt. 124 ¶¶ 70-72, 76-79);
9               b. the “February 2015 Form 1294” flowchart, BGG0010166 (Dkt.
                   124 ¶¶ 80-83);
10
                c. the “September 2015 SIDI” flowchart, BGG0009528 (Dkt. 124 ¶¶
11                 87-105); and
12              d. the “April 2014 Manufacturing Process” document, BGG0000009
13                 (Dkt. 124 ¶¶ 106-65).

14   Dkts. 257 (Order, redacted), 258 (Order, unredacted), 265 (Am. Order, unredacted).
15         Similarly, the court granted Kyäni’s motion to strike on December 14, 2021,
16   and struck Dr. Rockstraw’s testimony regarding the following issues, on the grounds
17   that the expert report improperly asserted a new claim and new infringement theories
18   and accused products, processes, or instrumentalities that were not disclosed in
19   Plaintiff’s Infringement Contentions to Kyäni:
20           1. Infringement of Claim 6 of the Patent-in-Suit (Dkt. 261-1 ¶¶ 6-7, 46
21              (third bullet), 107-08, 134, 159); and
             2. Infringement based on documents produced in discovery:
22
                a. the “September 2015 SIDI” flowchart, BGG0009528 (id. ¶¶ 53,
23                 57-85); and
24              b. the “April 2014 Manufacturing Process” document, BGG0000009
25                 (id. ¶¶ 53, 86-158).
26   Dkts. 269 (Order, redacted), 270 (Order, unredacted).
27         Although the court granted Defendants’ motions to strike, the court excluded
28   Dr. Rockstraw’s opinions regarding these claims, infringement theories, and products,

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1    processes, or instrumentalities, to the extent these opinions are presented to establish
2    Plaintiff’s prima facie case of infringement of the ’453 Patent by Defendants. Dkt.
3    257 at 18; Dkt. 269 at 17. The court reserved ruling on whether Plaintiff may use
4    portions of this testimony and expert evidence at summary judgment or trial to rebut
5    Defendants’ theories of non-infringement, in the event Defendants presented these
6    documents as evidence of non-infringement. Dkt. 257 at 18; Dkt. 270 at 17.
7                                     LEGAL STANDARD
8    I.    General Standard under Fed. R. Civ. P. 56
9          Summary judgment is appropriate “if the movant shows there is no genuine
10   dispute as to any material fact and the movant is entitled to judgment as a matter of
11   law.” Fed. R. Civ. P. 56(a). The moving party bears the initial burden of identifying
12   relevant portions of the record that demonstrate the absence of a fact or facts
13   necessary for one or more essential elements of each claim upon which the moving
14   party seeks judgment. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). Facts
15   are “material” only if dispute about them may affect the outcome of the case under
16   applicable substantive law. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248
17   (1986). A dispute about a material fact is “genuine” if the evidence is such that a
18   reasonable jury could return a verdict for the nonmovant. Id.
19         If the moving party meets its initial burden, the opposing party must then set out
20   specific facts showing a genuine issue for trial to defeat the motion. Anderson, 477
21   U.S. at 247-48; see also Fed. R. Civ. P. 56(c), (e). Summary judgment must be
22   granted for the moving party if the nonmoving party “fails to make a showing
23   sufficient to establish the existence of an element essential to that party’s case, and on
24   which that party will bear the burden of proof at trial.” Celotex, 477 U.S. at
25   322. The court must decide whether the moving party is entitled to judgment as a
26   matter of law in light of the facts presented by the nonmoving party, along with any
27   undisputed facts. See T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors Ass’n, 809 F.2d
28   626, 630-31 & n. 3 (9th Cir. 1987). “Where the record taken as a whole could not

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1    lead a rational trier of fact to find for the nonmoving party, there is no ‘genuine issue
2    for trial.’” Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587
3    (1986).
4          When deciding a motion for summary judgment, “the inferences to be drawn
5    from the underlying facts … must be viewed in the light most favorable to the party
6    opposing the motion.” Id. “If the nonmoving party produces direct evidence of a
7    material fact, the court may not assess the credibility of this evidence nor weigh
8    against it any conflicting evidence presented by the moving party. … Inferences
9    from the nonmoving party’s ‘specific facts’ as to other material facts, however, may
10   be drawn only if they are reasonable in view of other undisputed background or
11   contextual facts and only if such inferences are otherwise permissible under the
12   governing substantive law.” T.W. Elec., 809 F.2d at 631-32. “[S]ummary judgment
13   should not be granted where contradictory inferences may reasonably be drawn from
14   undisputed evidentiary facts….” Hollingsworth Solderless Terminal Co. v. Turley,
15   622 F.2d 1324, 1335 (9th Cir. 1980). The nonmoving party, however, must not
16   simply rely on the pleadings and must do more than make “conclusory allegations [in]
17   an affidavit.” Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 888 (1990); see also
18   Celotex, 477 U.S. at 324.
19         “After giving notice and a reasonable time to respond, the court may: (1) grant
20   summary judgment for a nonmovant; (2) grant the motion on grounds not raised by a
21   party; or (3) consider summary judgment on its own after identifying for the parties
22   material facts that may not be genuinely in dispute.” Fed. R. Civ. P. 56(f).
23   II.   Summary Judgment for Patent Infringement Claims
24         The standard for summary judgment in a patent case remains the same as in any
25   other. Barmag Barmer Maschinenfabrik AG v. Murata Mach., Ltd., 731 F.2d 831,
26   835-36 (Fed. Cir. 1984). “With regard to the parties’ cross-motions on infringement,
27   summary judgment is appropriate: 1) where ‘only one conclusion as to infringement
28   could be reached by a reasonable jury;’ or 2) ‘when the patent owner’s proof is

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1     deficient in meeting an essential part of the legal standard for infringement, because
2     such failure will render all other facts immaterial.” Aqua-Lung Am., Inc. v. Am.
3     Underwater Prods., 709 F. Supp. 2d 773, 777 (N.D. Cal. 2010) (citing TechSearch,
4     L.L.C. v. Intel Corp., 286 F.3d 1360, 1369 (Fed. Cir. 2002)).
5           “Patent infringement analysis involves two steps: 1) claim construction; and 2)
6     application of the properly construed claims to the accused device or method.” Id. at
7     777-78 (citing Markman v. Westview Instruments, Inc., 52 F.3d 967, 976 (Fed. Cir.
8     1995) (en banc)). The first step is a question of law, while infringement is a question
9     of fact. Id. at 778. As the court completed the first step through the January 10, 2020
10    Claim Construction Order, Dkt. 92, the court will now perform the second step and
11    apply the court’s constructions to the accused processes.
12          “To prove infringement, a patent holder must show that the accused device or
13    method meets each claim limitation, either literally or under the doctrine of
14    equivalents.” Aqua-Lung, 709 F. Supp. 2d at 778. As Plaintiff does not discuss
15    infringement under the doctrine of equivalents in its moving papers or its Infringement
16    Contentions, the court finds Plaintiff accuses Defendants of literal infringement only.3
17    See Dkt. 213 (Pl. MSJ Br.); Dkt. 112-4 (Pl. Inf. Cont. re: Beijing Gingko); Dkt. 267-2
18    (Pl. Inf. Cont. re: Kyäni).4
19          “To establish literal infringement, all of the elements of the claim, as correctly
20    construed, must be present in the accused system.” TechSearch, 286 F.3d at 1371.
21    “Any deviation from the claim precludes such a finding. Telemac Cellular Corp. v.
22    Topp Telecom, Inc., 247 F.3d 1316, 1330 (Fed. Cir. 2001). However, “[a] claim is not
23    defective when it states fewer than all of the steps that may be performed in the
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        Plaintiff also admitted at the hearing that it does not accuse Defendant of infringing
26    the ’453 Patent under the doctrine of equivalents.
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27      Pursuant to Patent Local Rule 3-1(e), a plaintiff’s infringement contentions must
      identify “[w]hether each limitation of each asserted claim is alleged to be literally
28    present or present under the doctrine of equivalents in the Accused Instrumentality.”
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1     practice of an invention.” Smith & Nephew, Inc. v. Ethicon, Inc., 276 F.3d 1304, 1311
2     (Fed. Cir. 2001). “Infringement arises when all of the steps of a claimed method are
3     performed, whether or not the infringer also performs additional steps.” Id.
4           As infringement is a question of fact, “[t]he court can resolve the issue on
5     summary judgment only if ‘no reasonable jury could find that every limitation recited
6     in the properly construed claim either is or is not found in the accused device.’ That
7     said, the absence from the accused product of one limitation in the claim means that,
8     as a matter of law, there is no literal infringement of that claim.” Aqua-Lung, 709 F.
9     Supp. 2d at 778 (citing Frank’s Casing Crew & Rental Tools, Inc. v. Weatherford
10    Int’l, Inc., 389 F.3d 1370, 1376 (Fed. Cir. 2004).
11          PLAINTIFF’S PARTIAL MOTION FOR SUMMARY JUDGMENT
12          Plaintiff moves for partial summary judgment against all Defendants for literal
13    infringement of Claims 1 and 5 of the ’453 Patent under § 271(g).5 Dkt. 213 (Pl. MSJ
14    Br., unredacted) at 24-36. According to Plaintiff, the undisputed evidence in the
15    record establishes BGG China and JXVC manufactured annatto tocotrienol using
16    ARN’s patented process and imported the product to BGG America, that BGG
17    America offers the annatto tocotrienol for sale, and that Kyäni purchased and used the
18    annatto tocotrienol product. Id. at 29.
19          Defendants oppose Plaintiff’s MSJ on grounds including that Plaintiff did not
20    disclose its current infringement theories in its Infringement Contentions. Dkt. 205
21    (Opp. to Pl. MSJ, redacted) at 6-7 & n. 2, 29 n. 4. As the parties filed their motions
22    before the court issued its rulings on Defendants’ motions to strike portions of the
23    Rockstraw Expert reports, the parties have not briefed the effect of those rulings on
24    the subject motions. Thus, the court will conduct its own evaluation of Plaintiff’s
25    ability to establish that Defendants perform every limitation recited in the ’453 Patent,
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        Plaintiff has not pleaded violation of Claim 5 of the ’453 Patent by any Defendant in
28    the FAC (Dkt. 42) or the Complaint in the Kyäni action (Case No. 21-2613, Dkt. 1).
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1     based on the infringement theory recited in Plaintiff’s Infringement Contentions and
2     the undisputed evidence in the record.
3     I.    Plaintiff’s Ability to Establish a Prima Facie Case of Infringement Based
4           on the Infringement Theory Stated in Its Infringement Contentions
5           Plaintiff’s MSJ and current theories of infringement rely upon Dr. Rockstraw’s
6     expert opinions in his Expert Reports. Dkt. 213 (Pl. MSJ, unredacted) at 25-36; Dkt.
7     213-14 (Rockstraw Beijing Gingko Expert Report, unredacted) at 19-56; Dkt. 261-1
8     (Rockstraw Kyäni Expert Report, unredacted) at 17-43. Dr. Rockstraw’s opinions,
9     however, accuse and are centered on apparatuses, devices, processes, methods, acts, or
10    other instrumentalities that were not identified in ARN’s Infringement Contentions
11    and that the court has barred Plaintiff from asserting to establish its prima facie case of
12    infringement.6 Dkt. 257 (Order, redacted) at 18; Dkt. 269 (Order, redacted) at 17. In
13    particular, the court precluded Plaintiff from asserting infringement theories based on
14    Dr. Rockstraw’s opinions regarding the following four documents Defendants
15    produced in discovery:
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17      As discussed in more detail in the court’s orders striking portions of the Rockstraw
      Expert Reports, Patent Local Rule 3-1 requires a party claiming infringement to
18    identify its infringement theory “as specific[ally] as possible” and to “identify[]
19    specifically where and how each limitation of each asserted claim is found within each
      Accused Instrumentality….” See Patent Local Rule 3-1(b), (c). Furthermore,
20    infringement contentions must contain, “[f]or each claim which is alleged to have
21    been indirectly infringed, an identification of any direct infringement and a description
      of the acts of the alleged indirect infringer that contribute to or are inducing that direct
22    infringement.” Id. Rule 3-1(d). As Plaintiff itself acknowledged, “[e]xpert reports
23    may not introduce new theories of infringement not previously set forth in a party’s
      infringement contentions.” Dkt. 127 at 17 (quoting Ilife Techs., Inc. v. Nintendo of
24    Am., Inc., Case No. 3:13-cv-04987-M, 2017 U.S. Dist. LEXIS 87769, at *62-63 (N.D.
25    Tex. May 30, 2017)). Both the Ninth Circuit and Federal Circuit have held that “the
      exclusion of evidence is often an appropriate sanction for a party’s failure to comply
26    with the patent local rules.” Phigenix, Inc. v. Genentech, Inc., 783 Fed. App’x 1014,
27    1020 (Fed. Cir. 2019) (citing O2 Micro Int’l, Ltd. v. Monolithic Power Sys., 467 F.3d
      1355, 1369 (Fed. Cir. 2006), and Wong v. Regents of Univ. of Cal., 410 F.3d 1052,
28    1060 (9th Cir. 2005)).
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1     the Infringement Contentions. See generally Dkt. 213-14 (Rockstraw Beijing Gingko
2     Expert Report, unredacted). While Dr. Rockstraw repeatedly states that the
3     documents and processes at the heart of his analysis mirror the illustration in ARN’s
4     Infringement Contentions and meet Plaintiff’s Infringement Contention theory, Dr.
5     Rockstraw does not specifically address the differences between the process steps set
6     forth in the barred documents and the March 2018 SIDI document. See id. at 22-23, ¶
7     71; id. at 28, ¶ 80; id. at 34-35, ¶¶ 104-05; id. at 54-55, ¶¶ 170-73.7
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        In discussing the applicable legal standards for patent infringement, Dr. Rockstraw
21    states that he “understand[s] that a patent claim covers anything that is equivalent to
      the claims – that is, insubstantially different from the claim,” under the doctrine of
22    equivalents. Dkt. 213-14 (Rockstraw Beijing Gingko Expert Report, unredacted) at 9,
23    ¶ 26. However, as Plaintiff did not discuss infringement under the doctrine of
      equivalents in its Infringement Contentions or moving papers, Plaintiff must
24    demonstrate Defendants’ practice all the elements of the accused claims, as correctly
25    construed, with no deviations. See Telemac, 247 F.3d at 1330. Dr. Rockstraw does
      not explain how the evidence in the record establishes Defendants literally infringed
26    Claim 1 pursuant to the infringement theory stated in Plaintiff’s Infringement
27    Contentions. His expert opinion that the processes described in these additional
      documents “closely follows ARN’s Infringement Contentions” (e.g., Dkt. 213-14 at
28    35, ¶ 104) is insufficient to establish literal infringement.
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1     Rockstraw’s opinions regarding the other documents are similarly deficient.
2           As Dr. Rockstraw’s opinions are based on infringement theories that were not
3     disclosed in Plaintiff’s Infringement Contentions and as Plaintiff failed to amend its
4     Infringement Contentions to accuse Defendants of infringement based on these new
5     theories, the court reaffirms its ruling that Plaintiff is barred from using Dr.
6     Rockstraw’s expert opinions as to these documents to establish its prima facie case of
7     infringement. See O2 Micro, 467 F.3d at 1364, 1366 (recognizing local patent rules
8     are “designed specifically to require parties to crystallize their theories of the case
9     early in the litigation so as to prevent the ‘shifting sands’ approach to claim
10    construction” and that it is appropriate to require the parties to amend their
11    contentions promptly after discovering new information) (quotation marks omitted);
12    Phigenix, 783 Fed. App’x at 1019-20 (striking expert infringement opinion is proper
13    where plaintiff failed to timely amend infringement contentions to disclose narrowed
14    infringement theory). Plaintiff does not separately demonstrate that the evidence in
15    the record shows Defendants practice the process accused in ARN’s Infringement
16    Contentions or that the identified process infringes the ’453 Patent. See generally
17    Dkt. 213 (Pl. MSJ Br., unredacted); Dkt. 244 (Pl. MSJ Reply, unredacted).
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2                                      As Plaintiff did not
3                                                                           , this infringement
4     theory was not disclosed in the Infringement Contentions and cannot establish
5     Plaintiff’s prima facie case of infringement. See Phigenix, 783 Fed. App’x at 1020.
6           Accordingly, the court finds Plaintiff fails to prove that the accused process
7     meets every limitation of Claim 1 of the ’453 Patent or that Defendants practice the
8     accused process. See TechSearch, 286 F.3d at 1369. As Claim 5 is dependent on
9     Claim 1, the court likewise finds Plaintiff fails to establish infringement of this claim.
10    The court, therefore, DENIES Plaintiff’s MSJ in its entirety.
11          For the sake of completeness, the court will address the parties’ arguments
12    regarding the April 2014 Manufacturing Process document, BGG0000009-20 (Dkt.
13    236-3), the 2018 Manufacturing Process document, BG0000021-32 (Dkt. 236-4), and
14    other evidence which the Beijing Gingko Defendants contend detail the actual
15    manufacturing process they used to produce annatto tocotrienol (“Beijing Gingko’s
16    process”) at all relevant times.8 Dkt. 205 (Opp. to Pl. MSJ, redacted) at 4-5.9
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      8
18      Plaintiff contends BGG China has been infringing the ’453 Patent since 2007. Dkt.
      213 (Pl. MSJ Br., unredacted) at 13-14, 25. Plaintiff’s Infringement Contentions,
19    however, state only that “the date of first infringement is at least as early as 2015.”
20    Dkt. 112-4 (Pl. Inf. Cont. re: Beijing Gingko) at 3. Defendants oppose Plaintiff’s use
      of BGG China’s 2007 process records for the same reason stated in their earlier
21    motions to strike. Dkt. 205 (Opp. to Pl. MSJ, redacted) at 29 n. 4. Patent Local Rule
22    3-1(h) requires a party claiming infringement to “[i]dentify the timing of the point of
      first infringement, the start of claimed damages, and the end of claimed damages[.]”
23    As Plaintiff did not accuse Defendants of infringing the ’453 Patent before 2015 in its
24    Infringement Contentions or amend its Infringement Contentions to identify an earlier
      date of first infringement, the court agrees that this evidence is improper and
25    STRIKES Plaintiff’s arguments regarding infringement based on BGG China’s 2007
26    process records. See Phigenix, 783 Fed. App’x at 1020.
      9
27     The court will not specifically address the parties’ arguments regarding (1) the
      September 20, 2013 Form 1294 flowchart, BGG0018635, (2) the February 2015 Form
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1     II.   Infringement Based on Defendants’ April 2014 and 2018 Manufacturing
2           Process Documents
3           As stated, the ’453 Patent claims in relevant part:
4             1. A method of forming a tocotrienol composition, comprising the
              step of volatilizing a solvent from a byproduct solution of Bixa
5
              Orellana seed components to form thereby said tocotrienol
6             composition.
7             5. The method of claim 1, wherein the solvent includes an alcohol.
8     Dkt. 42-1 at 8:35-38, 8:45-46.
9           The court will address the parties’ arguments regarding whether Beijing
10    Gingko’s process satisfies each limitation, as construed by the court. See TechSearch,
11    286 F.3d at 1371.
12          A.     Byproduct Solution of Bixa Orellana Seed Components
13          The court construed the term “a byproduct solution of Bixa orellana seed
14    components” to mean “a solution derived from Bixa orellana seed components having
15    a concentration of annatto colorant significantly reduced from that of Bixa orellana
16    seeds themselves and containing a tocotrienol component and a geranylgeraniol
17    component, which solution is obtained as an oily material after removing the bulk of
18    annatto color from the seeds.” Dkt. 92 at 7.
19          Plaintiff contends Beijing Gingko’s process meets this limitation because the
20    undisputed evidence in the record demonstrates
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      1294 flowchart, or the September 2015 SIDI flowchart, BGG0009528, as Defendants
24    have not asserted these documents as evidence of noninfringement and argue only that
25    they have never produced annatto tocotrienol using the processes described in these
      documents. See Dkt. 205 (Opp. to Pl. MSJ, redacted) at 31-33. As stated in the
26    court’s orders striking portions of the Rockstraw Expert Reports, Plaintiff is precluded
27    from using these documents to establish its prima facie case of infringement for
      failure to disclose these theories of infringement in its Infringement Contentions.
28    Dkt. 265 at 18; Dkt. 270 at 17.
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2                                                                       Plaintiff further
3     demonstrates the raw material is derived from Bixa orellana seed components and
4                                                                              . Id. (citing
5     Dkt. 196-2 (PSUF, unredacted) ¶¶ 335-36, 340; see also Dkt. 236-1 (Def. State.
6     Genuine Disputes of Material Fact, “DSDF,” unredacted) ¶¶ 330, 336. Finally, the
7     evidence in the record establishes that the raw material is an oil that contains a
8     tocotrienol component and a geranylgeraniol component. Dkt. 196-2 (PSUF,
9     unredacted) ¶¶ 335, 344; Dkt. 236-1 (DSDF, unredacted) ¶¶ 330, 346. For purposes
10    of the subject motion for summary judgment, this evidence is sufficient to
11    demonstrate that the raw material meets the court’s construction of this limitation.
12          Defendants contend the raw material does not meet the court’s construction of
13    the term because
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1     incidental volatilization of solvent                         practices the
2     claimed invention. See generally Dkt. 42-1.
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                                                                             The court,
3     therefore, agrees with Defendants that the removal of solvent from the byproduct
4     solution by volatilization must be the aim or purpose of a process, step, or other
5     instrumentality for infringement of the ’453 Patent to exist—rather than an incidental
6     result that occurs during additional steps in Defendants’ process. See Dkt. 205 (Opp.
7     to Pl. MSJ, redacted) at 18; see also Dkt. 92 (Claim Construction Order) at 6.
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15                                                              Accordingly, the evidence in
16    the record establishes that these stages of Beijing Gingko’s process do not form a
17    tocotrienol composition from the byproduct solution of Bixa orellana seed
18    components through the removal of solvent by volatilization, as taught by Claim 1 of
19    the ’453 Patent, but that any volatilization that may occur is incidental to an
20    intermediary step in Beijing Gingko’s process.
21          In contrast, Plaintiff does not present any credible evidence to demonstrate that
22    these stages of Beijing Gingko’s process are aimed at removing solvent from the
23    byproduct solution by volatilization.
24
25    11
        The court also notes that Plaintiff’s Infringement Contentions did not identify
26                                                                                   as
27    comprising the “tocotrienol composition” formed by volatilizing a solvent. See Dkt.
      112-4 at 7. This deficiency constitutes an additional reason to find that Plaintiff
28    cannot establish its prima facie case. See Phigenix, 783 Fed. App’x at 1020.
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13          The relevant question, however, is not whether the solution at a specific step in
14    Beijing Gingko’s process meets the court’s construction of a byproduct solution of
15    Bixa orellana seed components, but whether Beijing Gingko’s process, a whole,
16    performs all the steps of the claimed method on the byproduct solution. See Smith,
17    276 F.3d at 1311. Based on the evidence in the record, the court finds Beijing
18    Ginkgo’s process does not.
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27      The ’453 Patent recognizes that other solvents including water, hexane, and acetone
      may be used to separate the colorant from the Bixa orellana seed components to form
28    the byproduct solution. See Dkt. 42-1 at 8:39-44.
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3           The court, therefore, finds that the                         step of the Beijing
4     Gingko Defendants’ 2014 and 2018 Production Process does not literally infringe
5     the ’453 Patent.
6           C.     Conclusion Regarding Infringement Based on Beijing Gingko’s
7                  Production Process
8           In sum, based on the evidence in the record, the court finds that no reasonable
9     jury could conclude that Defendants literally infringe Claim 1 of the ’453 Patent, even
10    if the court were to consider the parties’ arguments and evidence regarding Beijing
11    Gingko’s 2014 and 2018 Production Process for creating annatto tocotrienol. As
12    Claims 5, 6, 7, and 10 are dependent on Claim 1, Plaintiff fails to demonstrate a triable
13    issue exists regarding infringement of these claims, and Defendants are entitled to
14    summary judgment of noninfringement as a matter of law. See Aqua-Lung, 709 F.
15    Supp. 2d at 778. Having held Beijing Gingko’s process does not literally infringe
16    Claim 1 on these grounds, the court need not address the parties’ remaining arguments
17    regarding this process.
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1                                        CONCLUSION
2           For the aforementioned reasons, the court DENIES Plaintiff’s Motion for
3     Partial Summary Judgment against Defendants for Infringement of the Patent-in-Suit
4     (Dkt. 172) in its entirety. As the undisputed facts and controlling principles of law
5     clearly establish that the Beijing Gingko Defendants are entitled to summary judgment
6     on Plaintiff’s claims, the court GRANTS summary judgment in Defendants’ favor.
7     See Fed. R. Civ. P. 56(f). Defendants’ Motion for Summary Judgment of No Willful
8     Infringement and No Induced Infringement (Dkts. 176, 192) is MOOT.
9
10          IT IS SO ORDERED.
11
12    Dated: January 3, 2022                      ______________________________
13                                                FERNANDO L. AENLLE-ROCHA
                                                  United States District Judge
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